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COURT
BANKRUPTCE COrORNIA

U.S.
NORTHERN DISTRICT

UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

Inre

Be 21-50028
Evander Frank Kane Case No.

Chapter 7

ADMISSION OF ATTORNEY

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| APPLICATION FOR
|

| PRO HAC VICE

Debtor(s).

Pursuant to B.L.R. 1001-2(a) and Civil L.R, 11-3, Jeremy L. Retherford ,» an

 

active member in good standing of the bar of Alabama _

to practice in the Northern District of California on a pro hac vice basis representing

Lone Shark in the above-entitled action.

 

In support of this application, I certify on oath that:

1. I am an active member in good standing of a United States Court or of the highest court
of another State or the District of Columbia, as indicated above:

2, ] agree to abide by the Standards of Professional Conduct set forth in Local Rule 11-4,
and agree to become familiar with the Local Rules and the Bankruptcy
Dispute Resolution Program of this Court; and,

3. An attorney who is a member of the bar of this Court in good standing and who
maintains an office within the State of California has been designated as co-counsel in

the above-entitled action. The name, address and telephone number of that attorney is:
Christopher O. Rivas, Reed Smith

 

355 South Grand Avenue, Suite 2900

 

Los Angeles, CA, 90071 (213) 457-8000

 

I declare under penalty of perjury that the foregoing is true and correct.

Dated: February 9, 2021 DLE 4

pene Jeremy L. Retherford

 

 
UNITED STATES DISTRICT COURT
Northern District of Alabama

Joe Musso
Chief Deputy Clerk

Sharon N. Harris
Clerk of Court

 

CERTIFICATE OF GOOD STANDING

I, Sharon N. Harris, Clerk of the United States District Court, Northern District of
Alabama, DO HEREBY CERTIFY that Jeremy Lowery Retherford duly admitted to
practice in said Court on October 22, 2003 and is in good standing as a member of the bar
of said Court.

Dated at Birmingham, Alabama, on February 3, 2021.

By:

 

 

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UNITED STATES
BANKRUPTCY COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION

# 50102393 — tp

March 23. 2021
10:07:35

PRO HAC VICE FEE
21-50028-—s1_ j7
Debtor. : EVANDER FRANK KANE
Trustee: Fred Hjelmeset

Amount, - $317.00 CH
Check#., - 74500
Total->»

$317_00

FROM: NORTHERN CALIFORNIA LEGAL SUPP
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